     Case 2:18-cr-00891-DMG Document 43 Filed 06/27/19 Page 1 of 7 Page ID #:174



1      HILARY POTASHNER (Bar No. 167060)
       Federal Public Defender
2      (E-mail: Hilary_Potashner@fd.org)
       ERIN M. MURPHY (Bar No. 285087
3      (E-Mail: Erin_Murphy@fd.org)
       Deputy Federal Public Defender
4      321 East 2nd Street
       Los Angeles, California 90012-4202
5      Telephone: (213) 894-5310
       Facsimile: (213) 894-0081
6
       Attorneys for Defendant
7      ROBIN DIMAGGIO
8                               UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12
       UNITED STATES OF AMERICA,                      Case No. 18-891-DMG
13
                   Plaintiff,                         THIRD EX PARTE REQUEST TO
14                                                    MODIFY BOND CONDITION;
             v.                                       DECLARATION OF COUNSEL;
15                                                    DECLARATION OF MIKE FENNEL
       ROBIN DIMAGGIO,
16
                   Defendant.
17
18
             Defendant, Robin DiMaggio, by and through his counsel of record, Deputy
19
       Federal Public Defender, Erin Murphy, hereby requests that this court modify his bond
20
       condition to remove the electronic monitoring condition so that Mr. DiMaggio can seek
21
       employment. The government opposes this request.
22
23                                          Respectfully submitted,
24                                          HILARY POTASHNER
                                            Federal Public Defender
25
26
       DATED: June 27, 2019              By /s/ Erin Murphy
27                                         ERIN MURPHY
28                                         Deputy Federal Public Defender

                                                  1
     Case 2:18-cr-00891-DMG Document 43 Filed 06/27/19 Page 2 of 7 Page ID #:175



1                      THIRD REQUEST TO MODIFY BOND CONDITION
2            On December 10, 2018, Mr. DiMaggio made his initial appearance. The Court
3      granted bail with conditions, including electronic monitoring.1 (ECF No. 1 at 2). On
4      May 20, 2019, through counsel, Mr. DiMaggio sought to modify the condition
5      requiring electronic monitoring. (ECF No. 37.) He sought to remove that condition so
6      that he could work as a drummer. (Id.) This Court denied that motion. (ECF No. 39.)
7      On June 5, 2019, Mr. DiMaggio presented more concrete job prospects to this Court
8      and an update on his mother’s health condition. (ECF No. 40.) He again requested the
9      removal of the ankle monitoring condition. (Id.) This Court modified his bond
10     allowing Mr. DiMaggio to remove the ankle monitor so long as Mr. DiMaggio could
11     provide a written employment contract signed by Mike Fennel, the Head Engineer at a
12     studio, that would guarantee 20 hours of drumming per week, and further provide a
13     weekly schedule of work and income. (ECF No. 42.) New circumstances--namely, a
14     fuller understanding from Mr. Fennel of how employment for musicians in the
15     recording industry works--prompt this third request.
16           After the Court issued its order modifying Mr. DiMaggio’s bail conditions, the
17     undersigned consulted with Mr. Fennel about the Court’s requirements. (Erin Murphy
18     Decl. ¶2.) Mr. Fennel informed the undersigned of practical challenges to satisfying
19     the Court’s requirements, which he summarized in the attached declaration. (Decl. of
20     Mike Fennel.) Specifically, in his experience in the music industry since 1985,
21     musicians like drummers work in recording studios “on an as-needed basis, and
22     generally for short periods of time like three to eight hours, depending on the project.”
23     (Id. at ¶2.) Also, based on his experience in the music industry, it is rare for recording
24     studios to enter into contracts with such a musician. (Id.) Rather, the availability of
25     jobs for musicians like drummers fluctuates and “depends on which artists are
26
27           1
              It should be noted that Pretrial Services’ bail recommendation at initial
28     appearance did not include electronic monitoring as a condition of bail. Electronic
       monitoring was a condition proposed to the Court by the parties.
                                                    2
     Case 2:18-cr-00891-DMG Document 43 Filed 06/27/19 Page 3 of 7 Page ID #:176



1      recording in our studio and when.” (Id. at ¶3.) As a result, he often has only an hour’s
2      notice that an artist needs a musician. (Id.) In those instances, he would call musicians
3      until one is available. (Id.)
4            Based on this information from Mr. Fennel, it would be difficult for Mr.
5      DiMaggio to work as a drummer for him consistent with the current bail modifications.
6      First, it does not appear that Mr. Fennel could guarantee--either via contract or
7      otherwise--any work hours per week because the available work in the studio fluctuates
8      at any time. Because Mr. Fennel may only have short notice of potential employment,
9      Mr. DiMaggio would be unable to seek approval from Pretrial Services for that
10     particular job a week before. As a result, Mr. DiMaggio may lose work opportunities.
11           Also, requiring Mr. DiMaggio to work a certain number of hours per week may
12     inadvertently limit his ability to work. As Mr. Fennel stated, jobs for drummers may
13     require only three or more hours. (Decl. of Mike Fennel, ¶2.) At the same time, as Mr.
14     Fennel stated, Mr. DiMaggio is viewed as a top drummer in their industry. (Id. at ¶5.)
15     Accordingly, Mr. DiMaggio could command up to three times the standard industry
16     rate for a drummer, which is around $350 per hour. (Id. at ¶5.) As a result, Mr.
17     DiMaggio has the ability to earn significant money, but not through a typical 8-hour
18     work day. Meanwhile, as stated in the prior application to modify bail, Mr. DiMaggio
19     cares for his bedridden mother during the day time. (ECF No. 40, 2d Ex Parte App. to
20     Modify Bail Conditions, Erin Murphy Decl. at ¶2.) While perhaps sporadic, working
21     as a drummer on an as-needed basis for hours at a time will allow him to earn money
22     while providing the flexibility necessary to continue caring for his mother.
23           Finally, maintaining Mr. DiMaggio’s drumming skills requires daily practice.
24     (Id. at ¶5.) Without practice, he may be unprepared to drum at the required level at a
25     moment’s notice. (Id.) In other words, with the ankle monitor on, his primary income-
26     earning skill is diminished. Moreover, spending months unable to practice could
27     impede Mr. DiMaggio’s long-term income-earning potential and opportunities.
28           For these reasons, the undersigned requests that the Court modify Mr.
                                                     3
     Case 2:18-cr-00891-DMG Document 43 Filed 06/27/19 Page 4 of 7 Page ID #:177



1      DiMaggio’s bail conditions to allow him to remove his ankle monitor so that he may
2      work as a drummer. Mr. Fennel has agreed to provide a time-log for any hours that Mr.
3      DiMaggio works. The Court could further order such a log from any other studio that
4      hires Mr. DiMaggio, and require that Mr. DiMaggio provides Pretrial Services with a
5      weekly status update on his employment, along with any time-logs and/or paystubs.
6            Pretrial Services confirms that Mr. DiMaggio remains in compliance with his
7      bond conditions and does not oppose the instant request. (Erin Murphy Decl. ¶4.) The
8      government opposes this request. (Id. at ¶5.)
9                                            Respectfully submitted,
10                                           HILARY POTASHNER
                                             Federal Public Defender
11
12
       DATED: June 27, 2019               By /s/ Erin Murphy
13                                          ERIN MURPHY
14                                          Deputy Federal Public Defender

15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   4
     Case 2:18-cr-00891-DMG Document 43 Filed 06/27/19 Page 5 of 7 Page ID #:178



1                                 DECLARATION OF ERIN MURPHY
2            I, Erin Murphy, hereby state and declare as follows:
3         1. I am the attorney of record for defendant, Robin DiMaggio.
4         2. After the Court issued its order modifying Mr. DiMaggio’s conditions of release,
5            I spoke to Mr. Mike Fennel about those conditions. He described to me the
6            practical challenges to satisfying them, based on his experience in the music
7            industry.
8         3. On June 26, 2019, I called Pretrial Services Officer Manuel Ibanez to obtain his
9            position regarding removing the ankle monitor. His outgoing voicemail message
10           indicated that he is out of the office until July 5, 2019.
11        4. After calling Officer Ibanez, I called Pretrial Services Officer Alexis Ochoa, who
12           I understand also supervises Mr. DiMaggio. She indicated that she had no
13           opposition to removing the ankle monitor, and to her knowledge, there have been
14           no issues with Mr. DiMaggio’s compliance with his bond conditions.
15        5. On June 27, 2019, Assistant United States Attorney Poonam Kumar informed me
16           that the government objects to the instant request.
17           I declare under penalty of perjury that the foregoing is true and correct to the best
18     of my knowledge.
19     DATE: June 27, 2019                 By /s/ Erin Murphy
20                                           ERIN MURPHY

21
22
23
24
25
26
27
28
                                                     5
Case 2:18-cr-00891-DMG Document 43 Filed 06/27/19 Page 6 of 7 Page ID #:179
Case 2:18-cr-00891-DMG Document 43 Filed 06/27/19 Page 7 of 7 Page ID #:180
